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                EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE: METHYL TERTIARY BUTYL ETHER
 (“MTBE”) PRODUCTS LIABILITY LITIGATION

                                                           Master File No. 1:00-1898
 This document relates to:
                                                           MDL 1358

 Commonwealth of Pennsylvania, etc. v. Exxon Mobil         Hon. Vernon S. Broderick
 Corporation, et al,                                       Hon. Debra C. Freeman

 Case No. 1:14-cv-06228

       ORDER GRANTING PETITION TO CONFIRM ATTORNEYS’ FEE AND
                             EXPENSES

       The Petition to Confirm Attorneys’ Fee and Expenses (“Petition”) is granted and this

Court confirms that the fee and expense reimbursements set forth in the Petition conform to

Pennsylvania Rules of Professional Conduct 1.5(a) and (c) with respect to the current recoveries

of $1,525,000 from settlements in this case with Defendants Duke Energy Merchants, LLC,

Vitol S.A., Inc., and Western Refining Yorktown, Inc.

       IT IS SO ORDERED:

       ________________________________
       HON. VERNON S. BRODERICK
       UNITED STATES DISTRICT JUDGE

       DATED:
OR
       IT IS SO ORDERED:

       ______________________________
       HON. DEBRA FREEMAN
       UNITED STATES MAGISTRATE JUDGE

       DATED: ____________
